      Case 4:19-cr-00042-RGE-HCA Document 64 Filed 08/31/20 Page 1 of 2


                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION


UNITED STATES OF AMERICA,
                                                          No. 4:19-cr-00042-RGE-HCA
       Plaintiff,

v.                                                           ORDER DENYING
                                                           DEFENDANT’S PRO SE
JOSEPH J. WHIPPS,                                         MOTION FOR EXTENSION
                                                             OF TIME TO FILE
       Defendant.                                          SECTION 2255 MOTION


       Now before the Court is Defendant Joseph J. Whipps filed a pro se motion for an extension

of time to file a motion to vacate, set aside, or correct his sentence under 28 U.S.C. § 2255.

ECF No. 63.

       “A 1-year period of limitation shall apply to a [§ 2255] motion.” 28 U.S.C. § 2255(f). The

limitation period runs from the latest of:

       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by governmental
       action in violation of the Constitution or laws of the United States is removed, if
       the movant was prevented from making a motion by such governmental action;

       (3) the date on which the right asserted was initially recognized by the Supreme
       Court, if that right has been newly recognized by the Supreme Court and made
       retroactively applicable to cases on collateral review; or

       (4) the date on which the facts supporting the claim or claims presented could have
       been discovered through the exercise of due diligence.

Id. The time limit in § 2255 may be subject to equitable tolling, see United States v. McIntosh,

332 F.3d 550 (8th Cir. 2003), but the Court does not have authority to extend the deadline before

Whipps files a § 2255 motion. Whipps’s motion is premature.
      Case 4:19-cr-00042-RGE-HCA Document 64 Filed 08/31/20 Page 2 of 2


       IT IS ORDERED that Defendant Joseph J. Whipps’s request for extension of time to

file a motion to vacate, set aside, or correct his sentence under 28 U.S.C. § 2255, ECF No. 63, is

DENIED without prejudice.

       If Whipps wishes to seek to vacate, set aside, or correct his sentence, Whipps should file a

28 U.S.C § 2255 petition without further delay. In his petition, Whipps may set forth relevant

circumstances regarding timeliness for the Court to consider at that time.

       IT IS SO ORDERED.

       Dated this 31st day of August, 2020.




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